       Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 1 of 21




                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


CHRISTOPHER DESANTIS,

               Plaintiff,

vs.                                                                   No. CIV 08-1205 JB/KBM

JANET NAPOLITANO,
Secretary of Homeland Security,

               Defendant.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Appeal of the Final Decision (Order) of the

Merit System Protection Board, filed January 20, 2010 (Doc. 36). The Court held a hearing on April

29, 2010.   This case is an appeal from two decisions of the Merit Systems Protection Board

(“MSPB”). The primary issue is whether the Court should uphold the action of the MSPB affirming

an Administrative Judge’s decision to uphold an adverse employment action by Plaintiff Christopher

DeSantis’ employer. Because the Court finds no ground upon which to hold that the MSPB acted

arbitrarily or capriciously, or otherwise not in accordance with the law, the Court will affirm the

MSPB’s upholding the grounds for DeSantis’ dismissal.1

                                  FACTUAL BACKGROUND

       DeSantis is a former Criminal Investigator-Special Agent and employee of the United States



       1
          DeSantis appeals MSPB decisions denying him relief on complaints based on both
discrimination and non-discrimination grounds. The Court affirms the MSPB’s action only with
respect to DeSantis’ non-discrimination ground for relief in his appeal of the MSPB’s affirmance
of his dismissal. With respect to DeSantis’ claim of employment discrimination, DeSantis is entitled
to review by trial de novo. Furthermore, the Court will dismiss for lack of jurisdiction DeSantis’
attempt to appeal to this Court the MSPB’s rejection of his individual right of action, under the
Whistleblower Protection Act of 1989, which challenged a threatened fourteen-day suspension.
       Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 2 of 21




Customs Service and its successor, the Department of Homeland Security. See Defendant’s

Response to Plaintiff’s Appeal of the Final Decision (Order) of the Merit Systems Protection Board

at 4, filed February 11, 2010 (Doc. 38)(“Response”). He has been a law enforcement officer since

1991. At all times relevant to this appeal up until August 10, 2007, DeSantis was an agent with the

United States Immigration and Customs Enforcement (“ICE”) Agency and was stationed in Deming,

New Mexico. See Response at 4.

       DeSantis’ dismissal from his position as an ICE agent stemmed from a sequence of conduct

dating from January 24, 2007 through August 10, 2007. He was removed from service based on

three Charges. The first Charge was “Failure to Follow Policy, Procedure, Practice, Protocol or

Rule,” which was supported by two Specifications: (i) failure to have ICE take over a Border Patrol

investigation when the body of a dead alien was discovered in January of 2007, and (ii) failure to

have ICE take over a Border Patrol interdiction and investigate an apparent person-smuggling

operation in which Border Patrol agents found several aliens in a locked box on a semi truck in

March of 2007. These failures were allegedly in violation of a policy whereby ICE would take over

cases involving alien deaths, alien endangerment or injury, or cases involving juveniles.

       The second Charge was “Lack of Candor,” which stemmed from two acts revolving around

the March 2007 incident. First, according to Senior Border Patrol Agent James Sheffield, Sheffield

told DeSantis several times by telephone that Border Patrol had found aliens locked inside the truck

that the agents found in March 2007, yet DeSantis failed to convey that information to Adam

Wilson, his superior, when reporting to Wilson regarding the call. When Wilson asked DeSantis

if any aliens were found inside the tractor trailer, DeSantis said “no.” The second incident was

DeSantis making a signed, written statement wherein he wrote: “[I]n this case no one ever

mentioned that any of the aliens were locked in or inside of anything or anyplace.” Again this

                                                -2-
       Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 3 of 21




statement conflicted with what Sheffield allegedly told DeSantis. DeSantis’ superiors found

Sheffield’s version of events more credible and considered DeSantis’ statements to the contrary

lacking in candor.

       The final Charge accused DeSantis of “Disruptive Behavior” stemming from four separate

incidents. The first three incidents involved DeSantis making insulting and inflammatory comments

to Special Agent Xavier Diaz regarding Diaz and/or the Border Patrol, made in the presence of Diaz

and other Border Patrol agents. The fourth incident involved disturbing and somewhat threatening

comments regarding the Virginia Tech shooting in 2007. The AJ quoted the following description

of the final incident as follows:

       On April 20, 2007, four days after the shooting incident at Virginia Tech University,
       [DeSantis] entered the Deming Office of Investigations and asked Senior Special
       Agent Jeff Mayfield if the codes to enter the building had been changed because of
       [him]. After a brief conversation with SSA Mayfield, [DeSantis] then made
       statements to the effect of “I can’t figure out if they (ICE) are out to get me or if I am
       just paranoid,” “You know I was watching the shooting on TV (reference to Virginia
       Tech) and the people they were interviewing were just saying how all the signs were
       there, yet no one did anything about it,” “Do I have to come in the office and start
       shooting people before they (ICE) believe that I’m injured? They just don’t get it,”
       “Six months ago I would have went on a shooting rampage if I had come in and the
       locks were changed,” “I can’t stand all the backstabbing and lies that go on around
       here,” “I’m going to pack some things from my office, I’m not going to be stealing
       anything.”

DeSantis v. Dep’t of Homeland Security, No. DE-0752-07-0509-I-2, Initial Decision at 6-7

(M.S.P.B. June 10, 2008), found at Admin. Record 1309-1348.2

       Based on these three Charges -- and the total of eight individual Specifications -- ICE’s



       2
         By agreement between DeSantis and the Defendant, the Defendant arranged to have the
Merit Systems Protection Board’s official record Bates stamped, and provided a stamped copy to
both DeSantis and to the Court. References to the record will be denoted “AR” and page numbers
will refer to the Bates numbers in the lower right-hand corner of each pages, i.e., citations to the
record will be of the form AR XXXX.

                                                  -3-
       Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 4 of 21




Disciplinary and Adverse Actions Panel on May 10, 2007, proposed to remove DeSantis from his

position. See AR 1312-1331. On July 25, 2007, the deciding official, Roberto Medina, told

DeSantis that he was considering disciplinary action for the above conduct and gave DeSantis an

opportunity to respond. See AR 1316. On August 10, 2007, Medina sustained all Charges and

Specifications and removed DeSantis from his position, effective August 15, 2007. See id.

                               PROCEDURAL BACKGROUND

       DeSantis challenged a threatened fourteen-day suspension and his removal from service

through the MSPB via two separate actions. The first, filed September 10, 2007, challenged the

August 15, 2007 removal from his position as an ICE agent. See AR 1309. The second was an

individual right of action (“IRA”) challenging the agency’s threat to suspend him for fourteen days,

although the suspension never occurred because Medina decided to dismiss DeSantis first. See AR

464-469. He asserted that the suspension was retaliation for whistle-blowing activity, in violation

of the Whistleblower Protection Act of 1989 (“WPA”). See AR 464-469. Both cases were assigned

to the same AJ for Initial Decision. On June 10, 2008, the AJ issued the first Initial Decision, in

which he sustained all three Charges against DeSantis and upheld his dismissal. On the first Charge,

the AJ rejected Specification 1 because, although he found DeSantis was aware of the policy

regarding ICE taking control of investigations involving alien death or endangerment in January of

2007, it was unclear whether DeSantis knew failure to comply with that policy could result in

discipline. The AJ upheld Specification 2, however, because DeSantis knew by March of 2007 that

failure to comply with the policy could result in discipline. See AR 1320-1332. The AJ upheld the

second Charge on both proffered Specifications and upheld the third Charge on three of the four

Specifications. See AR 1332-1336. The AJ rejected DeSantis’ remaining defenses and affirmed

his dismissal. See AR 1336-1344. The AJ also denied DeSantis’ claims that his suspension violated

                                                -4-
       Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 5 of 21




the WPA, finding that DeSantis had not proven he made a protected disclosure which was a

contributing factor to the dismissal. See AR 464-474. DeSantis appealed both Initial Decisions to

the MSPB, which sustained both decisions by Final Orders. See AR 2871-2871; id. 2950-2951.

       DeSantis appeals the MSPB’s Final Orders. He seeks review of a “mixed case” MSPB

appeal that includes claims that his removal from his position as an ICE agent was discriminatory

and contends that his removal was otherwise wrongful. DeSantis contests many of the facts as the

AJ found them. His bases for appeal are as follows: (i) the Defendant engaged in “outrageous”

conduct by either withholding vital documentary evidence during discovery or having one of its

witnesses lied during the first hearing, and that such conduct justifies setting aside his dismissal;

(ii) there is new evidence regarding the discrimination claim that was not available to the AJ;

(iii) there was no written description of what constituted an “endangerment” case, and so DeSantis

should not be penalized for failing to take charge of one; (iv) the AJ incorrectly denied DeSantis’

request to merge the two Specifications supporting Charge 2, and the first three Specifications

supporting Charge 3; and (v) with respect to the whistleblower claim the MSPB dealt with in

DeSantis’ IRA, DeSantis alleges that the MSPB’s decision was based on an erroneous interpretation

of the law. The Defendant argues: (i) DeSantis is misconstruing the evidence at the hearing, and

thus his “outrageous conduct” claim lacks merit; (ii) there need not be a written definition of

“endangerment” for DeSantis to be held responsible for violating the policy regarding alien-

endangerment cases; (iii) the record fully supports the lack-of-candor Charge; (iv) DeSantis’

argument about merger of Specifications is misplaced; and (v) DeSantis’ new evidence regarding

his disabilities is not new material evidence justifying reversal of the MSPB’s decisions. In this

opinion, dealing only with DeSantis’ non-discrimination-based claims of wrongful employment

action, reviewed under the deferential standard set forth in 5 U.S.C. § 7703(c), the Court affirms the

                                                 -5-
       Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 6 of 21




decision of the MSPB and denies that portion of DeSantis’ appeal. With respect to DeSantis’ appeal

of his separate IRA alleging discrimination under the WPA, however, the Court finds that it lacks

jurisdiction and dismisses the appeal without prejudice.

                      THE MERIT SYSTEMS PROTECTION BOARD

       “Federal employees, like employees of private concerns, must exhaust the applicable

administrative remedies before seeking judicial review.” Dossa v. Wynne, 529 F.3d 911, 913 (10th

Cir. 2008)(citing Coffman v. Glickman, 328 F.3d 619, 624 (10th Cir. 2003)). “A federal employee

may exhaust administrative remedies either by filing a complaint with the [Equal Employment

Opportunity] department of the employing agency or by proceeding to the MSPB.” Dossa v.

Wynne, 529 F.3d at 913. “If the employee chooses to appeal to the MSPB . . . the employee will

have a hearing at which he or she must raise his or her claims of discrimination and present evidence

in support of those claims in order to exhaust the administrative remedy.” Coffman v. Glickman,

328 F.3d at 624.

                                   STANDARD OF REVIEW

       In reviewing the MSPB’s decisions, the standard of review depends on the nature of the

claim brought before the MSPB. General claims of wrongful adverse employment action by a

federal employer are reviewed solely on the administrative record and can be set aside only where

the agency’s “action, findings, or conclusions [are] found to be (1) arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law; (2) obtained without procedures required by

law, rule, or regulation having been followed; or (3) unsupported by substantial evidence[.]”

5 U.S.C. § 7703(c). Such appeals must be filed in the United States Court of Appeals for the Federal

Circuit. See Coffman v. Glickman, 328 F.3d at 621 (“Review of a MSPB determination which does

not involve claims of unlawful discrimination is conducted by the United States Court of Appeals

                                                -6-
       Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 7 of 21




for the Federal Circuit.”); Williams v. Rice, 983 F.2d 177, 179-80 (10th Cir. 1993)(“Normally,

pursuant to 5 U.S.C. § 7703(b)(1), the Federal Circuit has exclusive jurisdiction over appeals from

the MSPB[.]”)(citing 5 U.S.C. § 7703(b)(2)). Under this arbitrary-and-capricious standard of

review, “[t]he reviewing court ‘may not substitute its judgment for that of the MSPB.’” Williams

v. Rice, 983 F.2d at 180 (quoting Wilder v. Prokop, 846 F.2d 613, 619 (10th Cir. 1988)). “Under

the arbitrary and capricious standard the MSPB’s decision needs only to have a rational basis in

law.” Wilder v. Prokop, 846 F.2d 613, 619 (10th Cir. 1988).

       Where the plaintiff complains of an adverse employment action that includes an allegation

of unlawful discrimination, however, the appeal may be brought in the federal district court having

proper venue and jurisdiction over the parties. See Coffman v. Glickman, 328 F.3d at 621-22

(“[W]hen an appeal to the MSPB involves claims of unlawful discrimination related to or stemming

from the employment action, it is considered a ‘mixed’ appeal. Review of MSPB determinations

in “mixed” cases lies solely in a district court.”); Williams v. Rice, 983 F.2d at 179-80 (“[T]he

Federal Circuit has exclusive jurisdiction over appeals from the MSPB, except where, as here, the

appellant’s claim includes an allegation of discrimination.”); Wall v. United States, 871 F.2d 1540,

1542 (10th Cir. 1989)(“[C]ases of alleged discrimination ‘subject to the provisions of section 7702’

shall be filed under the applicable statute in a United States District Court.”); 5 U.S.C. § 7703(b)(1),

(2) (placing exclusive jurisdiction of MSPB appeals in the Federal Circuit, except “[c]ases of

discrimination subject to the provisions of section 7702 of this title”).

       Discrimination cases “subject to the provisions of section 7702” include cases where
       an employee or an applicant for employment (1) has been affected by an action of
       an agency which may be appealed to the Board and (2) alleges that the basis for the
       agency’s action was discrimination prohibited by, inter alia, the Rehabilitation Act
       of 1973 and the Age Discrimination in Employment Act of 1967.

Wall v. United States, 871 F.2d at 1542. Even when the plaintiff alleges multiple bases for his

                                                  -7-
       Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 8 of 21




MSPB action, only one of which is a discrimination-based wrongful employment action -- so-called

“mixed cases” -- the appeal of the MSPB action may be to any otherwise-proper federal district

court. See Coffman v. Glickman, 328 F.3d at 621-22; Williams v. Rice, 983 F.2d at 179-80; Wall

v. United States, 871 F.2d at 1542. The MSPB’s decisions with respect to those discrimination-

based claims, unlike all other claims, are reviewed by trial de novo. See Coffman v. Glickman, 328

F.3d at 622; Williams v. Rice, 983 F.2d at 179 (“On the discrimination claim, the petitioner ‘shall

have the right to trial de novo by the reviewing court.’”)(quoting 5 U.S.C. § 7703(c)). Non-

discrimination-based claims in these mixed cases are still reviewed under the arbitrary-and-

capricious standard of 5 U.S.C. § 7703(c). See Valles v. Donley, 292 Fed. Appx. 711, 714 (10th Cir.

2008); Williams v. Rice, 983 F.2d at 180.

           RELEVANT LAW OF THE WHISTLE-BLOWER PROTECTION ACT

       The WPA, 5 U.S.C. § 2302(b), provides:

       Any employee who has the authority to take, direct others to take, recommend, or
       approve any personnel action, shall not, with respect to such authority . . . (8) take
       or fail to take, or threaten to take or fail to take, a personnel action with respect to
       any employee . . . because of . . . (A) any disclosure of information by an employee
       . . . which the employee . . . reasonably believes evidences . . . [(i) a violation of any
       law, rule, or regulation, or] (ii) gross mismanagement, a gross waste of funds, an
       abuse of authority, or a substantial and specific danger to public health or safety . . . .

LaChance v. White, 174 F.3d 1378, 1380 (Fed. Cir. 1999)(quoting 5 U.S.C. § 2302(b)).3 The

Federal Circuit has

       interpreted the WPA to require proof of four elements to establish a violation of
       section 2302(b)(8): “(1) the acting official has the authority to take, recommend, or


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           5 U.S.C. § 2302(a)(2)(A) defines “personnel action.” The term specifically includes “a .
. . transfer, or reassignment,” and includes -- by reference to Chapter 75 -- a 14-day suspension or
a removal/dismissal. See 5 U.S.C. § 2302(a)(2)(A)(iii) (incorporating actions under Chapter 75 as
“personnel actions”); 5 U.S.C. § 7501(2) (defining suspension); 5 U.S.C. § 7521(explaining that
Subchapter II of Chapter 75 applies to removal actions).

                                                  -8-
       Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 9 of 21




       approve any personnel action; (2) the aggrieved employee made a disclosure
       protected under section 2302(b)(8); (3) the acting official used his authority to take,
       or refuse to take, a personnel action against the aggrieved employee; (4) the acting
       official took, or failed to take, the personnel action against the aggrieved employee
       because of the protected disclosure.”

LaChance v. White, 174 F.3d at 1380 (quoting Frederick v. Dep’t of Justice, 73 F.3d 349, 352 (Fed.

Cir. 1996)). “The burden of showing that a protected disclosure was made is upon the employee.”

Horton v. Dep’t of Navy, 66 F.3d 279, 282 (Fed. Cir. 1995). Moreover, courts should apply “the

reasonable belief test by independently reviewing the basis for a party’s beliefs as it relates to

government misconduct.” LaChance v. White, 174 F.3d at 1380-81. “[T]he proper test is this:

could a disinterested observer with knowledge of the essential facts known to and readily

ascertainable by the employee reasonably conclude that the actions of the government evidence” the

conduct described in 5 U.S.C. § 2302(b)? LaChance v. White, 174 F.3d at 1381.

       Where the employee seeks relief under the “violation of any law, rule, or regulation” prong,

the employee must “identify a specific law, rule or regulation that was violated,” but need not cite

the precise provision at issue. Langer v. Treasury, 265 F.3d 1259, 1266 (Fed. Cir. 2001). To show

gross mismanagement, the employee must show “a management action or inaction which creates

a substantial risk of significant adverse impact upon the agency’s ability to accomplish its mission.

It must be more than de minimis wrongdoing or negligence.” Johnson v. Dep’t of Justice, 104

M.S.P.R. 624, 634 (2007). “An abuse of authority occurs when there is an arbitrary or capricious

exercise of power by a federal official or employee that adversely affects the rights of any person

or that results in personal gain or advantage to himself or to preferred other persons.” Id. at 636.

       The burden for showing “gross” mismanagement or waste of funds is onerous. See Elkassir

v. Gen. Servs. Admin., 325 Fed Appx. 909, 912 (Fed. Cir. 2009); Johnson v. Dep’t of Justice, 104

M.S.P.R. at 634 (finding that the gross mismanagement must “create[] a substantial risk of

                                                -9-
      Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 10 of 21




significant adverse impact upon the agency’s ability to accomplish its mission”)(emphasis added).

“‘Gross waste of funds’ is a more than debatable expenditure that is significantly out of proportion

to the benefit reasonably expected to accrue to the government.” Embree v. Dep’t of Treasury, 70

M.S.P.R. 79, 85 (1996)(emphasis added). The Federal Circuit has recognized that the language of

the statute contemplates a de minimis level of mismanagement or waste of funds, which does not

rise to the “gross” level necessary to create a protected disclosure. Drake v. Agency for Int’l Dev.,

543 F.3d 1377, 1381 n.1 (Fed. Cir. 2008)(explaining that the idea that there can exist “de minimis”

mismanagement or waste of funds “comes from the statute itself[, which] refers to ‘gross

mismanagement, a gross waste of funds, an abuse of authority, or a substantial and specific danger

to public health or safety . . . .’”)(emphasis in original).

                                              ANALYSIS

        DeSantis raises several bases for his appeal of the MSPB’s decision upholding the adverse

employment action. The Court will address DeSantis’ arguments seriatim and assume that they

apply to DeSantis’ non-discrimination complaints against the Defendant’s employment actions. The

Court will address -- in a separate opinion -- DeSantis’ discrimination-based arguments under

5 U.S.C. § 7703(c), in ruling on the Defendant’s motion for summary judgment. The Court

ultimately concludes that the law and evidence presented at the administrative hearing supported the

AJ’s Initial Decision, and will therefore affirm the MSPB Final Order adopting the AJ’s decision

in DeSantis’ mixed-case appeal. The Court concludes, however, that it lacks jurisdiction over

DeSantis’ appeal of the IRA asserting that his dismissal violated the WPA. The Court will dismiss

that appeal without prejudice to it being re-filed in the Federal Circuit.




                                                  -10-
      Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 11 of 21




I.     THE DEFENDANT DID NOT ENGAGE IN “OUTRAGEOUS” BEHAVIOR, AND
       THE LACK OF A WRITTEN DEFINITION FOR “ENDANGERMENT” DOES NOT
       MAKE DISMISSAL FOR FAILURE TO ADHERE TO THE POLICY IMPOSSIBLE.

       DeSantis’ first argument begins in his section entitled “Summary of Basic Facts.” In that

section, he argues that the Defendant’s officials testified that DeSantis failed to comply with a

“written, national policy” in reference to the first two Charges, but that the ALJ found that DeSantis

violated a “local” policy.4 DeSantis’ Brief at 4 (emphasis in original). He argues this finding is

inconsistent with the ALJ’s other finding that the Defendant’s officials were credible witnesses. He

bases his claim of “outrageous conduct” on the idea that, because a witness testified to the existence

of a written, national policy and the Defendant did not turn over such a policy in discovery, either

the witness was lying or the Defendant was withholding documents, either one of which would be

“outrageous conduct” worthy of the sanction of having DeSantis’ dismissal undone.

       The Court does not necessarily agree that the only two options are that Medina lied or the

Defendant is withholding documents. The possibilities are more varied, and many are considerably



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          DeSantis also appears to make another factual argument in the section detailing what he
calls the “Alien Endangerment Case,” where he again insists that Sheffield never told him that there
were aliens locked in a container on the truck that the Border Patrol agents stopped. The AJ found
Sheffield’s testimony to the contrary to be more credible for numerous reasons. Sheffield’s story
was more consistent with DeSantis’ apparent disdain of immigration cases, DeSantis’ cellular
telephone records had discrepancies that made it appear DeSantis was avoiding responding to the
information Sheffield provided, and DeSantis’ answers to questions during the hearing were evasive
and internally inconsistent. See AR 1327-1329. The Court finds no reason to upset the AJ’s
credibility determination based solely on DeSantis’ continued insistence that he was, and is, telling
the truth. See Wilson v. Dep’t of Army, No. 2009-3281, 2010 WL 21188, at *2 (Fed. Cir. Jan. 5,
2010)(stating that “the Board’s credibility determinations are virtually unreviewable.”); Wadhwa
v. Department of Veterans Affairs, 353 Fed. Appx. 435, 438 (Fed. Cir. 2009)(“As the finder of fact,
the AJ is in a unique position to make credibility determinations and evaluate the evidence on the
record before her. Accordingly, the AJ’s credibility determinations are ‘virtually unreviewable’”)
(quoting Hambsch v. Dep’t of Treasury, 796 F.2d 430, 436 (Fed. Cir. 1986)). To the extent
DeSantis asks the Court to reverse the MSPB’s decision based upon this factual argument, the Court
refuses to do so. The reasons that the AJ gave are rational and the Court will not disturb them.

                                                -11-
         Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 12 of 21




less sinister. Nevertheless, DeSantis’ premises fail on their own accord. First, the Court has

reviewed the sections of the administrative record which DeSantis cites, and none of them make any

reference to a “written, national” policy. Medina refers to a policy in his testimony, but does not

refer to it as a national policy. At most, he says that “the Office of Investigations has . . . policies

regarding agents responding to any death cases involving aliens and any endangerment cases

involving aliens,” which might imply that the policy is national in scope, but such an interpretation

is not absolute. AR 2119:19-2120:9 (Medina). If the policy was pressed upon him by his superiors,

Medina may well have believed it was a national policy, even if it was not. It makes no difference

what Medina believed the policy’s origin or scope to be, so long as: (i) a policy existed; (ii) Medina

believed DeSantis violated the policy; and (iii) violation of such policy is worthy of, or should be

considered in favor of, dismissal. That Medina characterized it as an “Office of Investigations”

policy and the AJ characterized it as a “local” policy does not deprive DeSantis of any fundamental

rights. The Court is unpersuaded by DeSantis’ argument that this inconsistency in characterization

represents the AJ upholding DeSantis’ dismissal based on a different policy than Medina relied upon

in dismissing DeSantis. The content of the policy is the same; the difference is in characterization

only.5

         Furthermore, Medina did not call the policy a “written policy” or otherwise imply that it was

contained in some official document. He stated only that he has seen something about it before in

written form, either a memorandum or an electronic-mail transmission. David Conrad, DeSantis’



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         At another point in the record, Medina states that he recalled similar policies in Puerto Rico
and Phoenix, Arizona. See AR 2122. Again, this testimony does not necessarily attest to a national
policy. A reasonable interpretation of this testimony is that Puerto Rico and Phoenix, Arizona have
similar local policies. And, again, it is irrelevant what Medina believed the scope of the policy to
be so long as he knew what the policy stated and whether DeSantis violated it.

                                                 -12-
      Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 13 of 21




attorney, argued that the record shows either that Medina was lying on the stand about having seen

a writing that contained this policy, or the Defendant is withholding documents. See Tr. at 9:2-9

(Conrad). The Court does not see the issue as so black and white. Documents, from time to time,

get lost.   Because the Defendant was unable to find the electronic-mail transmission or

memorandum to which the witnesses referred does not necessarily mean that the Defendant found

that document and refused to disclose it. The witnesses, with the exception of DeSantis himself,

uniformly recalled learning about the policy at one point or another. See AR 1323 (“No other

witness [than DeSantis] testified that they were unaware of a local policy regarding ICE taking alien

death and endangerment cases for prosecution as of at least 2005.”). The Court does not believe that

Medina’s reference to the policy as one from the Office of Investigations, and recalling that he read

something about it somewhere, is clear testimony to the existence of a written, national policy.

Upon review of the record, the Court finds that the AJ’s finding that a preponderance of the evidence

demonstrated that a policy existed, local or otherwise, and that DeSantis violated it, was not arbitrary

or capricious, was in accordance with the law, was obtained with appropriate procedures, and was

supported by substantial evidence. In other words, none of the bases for overturning an MSPB

decision found in 5 U.S.C. § 7703(c) are present here.

       At the hearing, Mr. Conrad seemed to argue that DeSantis’ termination was wrongful unless

the Defendant could provide some evidence of a written policy:

       [W]e’re simply saying that the key issue between the Government and Mr. DeSantis
       during the administrative portion of this case was whether there was a policy that Mr.
       DeSantis knew of and should have followed and did not, and we asked repeatedly in
       discovery motions, motions to compel, and to the credit of the Government attorney,
       he made valiant efforts, we believe -- I have no reason to doubt that he made any
       inaccurate statements either to me or to the administrative judge -- that no such
       policy that Mr. DeSantis was being held accountable for existed.

Tr. at 8:17-9:1 (Conrad). He has provided no authority for the proposition that only violation of a

                                                 -13-
      Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 14 of 21




written policy is grounds for dismissal. Nevertheless, as the Defendant points out in her Response

brief, the AJ did not sustain the first Specification of Charge 1 because, while he found that there

was a local policy and DeSantis was aware of it, he also found that the Defendant failed to prove that

DeSantis was aware that he could be subject to discipline for failure to comply. Rather, it was only

with respect to the March 25, 2007 incident that the AJ sustained Charge 1, and the AJ found that

there was a written policy by that time. See AR 1785 (memorandum dated January 26, 2007,

regarding ICE response to cases involving alien death, injury, or juveniles). In short, the Court need

not address the issue whether a federal employee may be relieved of duty based on violation of an

unwritten policy, as DeSantis was not dismissed for such conduct.

       DeSantis also appears to argue that the AJ erred in affirming the lack-of-candor Charge --

and, presumably, the failure-to-follow Charge, though DeSantis does not make this argument in the

context of that Charge -- because the policy which he violated lacked a definition of the word

“endangerment,” so it was impossible for him to know whether the situation that Sheffield described

to him on the telephone in March of 2007 was an endangerment case. The Court finds this argument

unpersuasive. As the Defendant points out in her response brief, the AJ could have concluded that

a reasonable person would have recognized that aliens being locked in a box in the back of a truck

constituted “endangerment” under the ICE policy, and that -- regardless of possible ambiguity in

other situations -- it would not require a written definition for Medina, and DeSantis’ other

superiors, to conclude that DeSantis failed to abide by the policy. Furthermore, the AJ found in his

Initial Decision that “Sheffield maintains that he mentioned ‘endangerment’ to [DeSantis] due to

the aliens being in a locked box,” so DeSantis was at least on notice of one individual who

considered the March 2007 incident to include an aspect of endangerment such that ICE should have

taken over the investigation. The Court is thus not convinced that the absence of a written definition

                                                -14-
      Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 15 of 21




of “endangerment” is necessary for the failure-to-follow Charge.

        The Court is not sure how the lack of a written definition of “endangerment” could effect the

lack-of-candor Charge, because the basis of that Charge was not the failure to investigate the March

2007 incident, as required by the ICE policy, but the failure to provide full and truthful information

regarding the DeSantis-Sheffield exchange to Wilson. A lack-of-candor charge should be sustained

if DeSantis’ failure to provide all facts about the calls from Sheffield, and his failure to characterize

those calls truthfully, was the basis for the lack-of-candor Charge. See Ludlum v. Dep’t of Justice,

87 M.S.P.R. 56, 62-64 (2000)(holding that “[a] ‘lack of candor’ charge may encompass a broader

range of misconduct than a falsification charge,” such as “not respond[ing] fully and truthfully” to

questions from a superior, or “fail[ing] to mention uncertainty . . . thereby creating a[] [false]

impression” as to the accuracy of the information given).6 DeSantis needs no definition of the word

endangerment to accurately answer factual questions about a telephone call. Ultimately, the Court

finds that there was no error of law by the AJ or the MSPB affirming DeSantis’ dismissal when there



        6
         DeSantis also argues in this section that his lack-of-candor Charge was upheld without
substantial evidence because there is, he asserts, no evidence to support any “element of deception.”
Appeal at 16. This assertion is incorrect. The AJ found substantial evidence that DeSantis
considered many of the day-to-day investigative activities of an ICE agent to be beneath him, and
that his time would be more effectively spent investigating larger cases, like smuggling
organizations or stash houses. See AR 1328. This attitude would give DeSantis a motive to avoid
conveying pieces of information to his superiors that might cause those superiors to assign him to
investigate more “mundane” cases. The AJ noted that, based on his interpretation of the evidence:

        [DeSantis] did not want to be bothered with the more mundane immigration cases
        and instead wanted to devote his time and energies to making a “bigger and better”
        case by raiding a stash house where illegal aliens could be found, and where the
        possibility of breaking up a smuggling organization was more likely.

AR 1328. A reasonable interpretation of the evidence is that, by refusing to report four aliens found
in a locked box on the back of his truck, DeSantis could avoid “wasting his time” investigating this
relatively small and unimportant case. The Court finds no error in the AJ’s opinion on this point.

                                                  -15-
      Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 16 of 21




was no official definition of “endangerment” as used in the ICE policy regarding when ICE should

take over investigations that are initiated by Border Patrol interdictions.

II.     THE AJ COMMITTED NO ERROR REGARDING HIS REFUSAL TO MERGE
        SPECIFICATIONS, AND ANY SUCH ERROR WAS HARMLESS.

        DeSantis argues that the AJ committed error by failing to merge the two Specifications in

Charge 2 and the first three Specifications in Charge 3. See Appeal at 16-17. The Defendant argues

that merger is a doctrine that applies to Charges and not to Specifications. See Response at 31

(citing Acox v. U.S. Postal Serv., 76 M.S.P.R. 111, 114 (1997)). Further, she insists that any error

is harmless, because at least one Specification from each Charge was sustained, from which one can

imply that each Charge would have been sustained if the Specifications had been merged as

DeSantis requested.

        The Court agrees with the Defendant. Because a Charge can be sustained so long as one

Specification supporting that Charge is sustained, Burroughs v. Dep’t of Army, 918 F.2d 170, 172

(Fed. Cir. 1990)(“[W]here more than one event or factual specification is set out to support a single

charge. . . , proof of one or more, but not all, of the supporting specifications is sufficient to sustain

the charge.”); Greenough v. Dep’t of the Army, 73 M.S.P.R. 648, 657 (1997)(“Proof of one or more,

but not all, of the supporting specifications is sufficient to sustain a charge.”), the Court can see that

any error would have been harmless. DeSantis asked for the two Specifications in Charge 2 be

merged, but both Specifications in Charge 2 were sustained, so the only logical conclusion is that

a merged Specification based on the same facts would also have been sustained. Likewise with

Charge 3, DeSantis asked that Specification 1, 2, and 3 of Charge 3 be merged. Two of those

Specifications were sustained, and one was denied. Admittedly, it is not certain that a merged

Specification, which included the facts of Specifications 1-3, would have been sustained.


                                                  -16-
      Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 17 of 21




Specification 4 of Charge 3, however, was also sustained. Because that Specification would have

remained unchanged if DeSantis’ request had been granted, the Court is confident that the AJ would

not have come to a different conclusion on Specification 4 of Charge 3, and Charge 3 ultimately

would have been upheld, regardless whether the AJ came to a different conclusion on the merged

Specification.

       Furthermore, the Court also agrees that there was no error, harmless or otherwise. The

Specifications are descriptions of the underlying conduct upon which the Charge is based. “A

charge usually has two parts: (1) A name or label that generally characterizes the misconduct; and

(2) a narrative description of the actions that constitute the misconduct.” Otero v. U.S. Postal Serv.,

73 M.S.P.R. 198, 203 (1997). The Specifications are the “narrative description of the actions that

constitute the misconduct,” and there appears to be great leeway afforded the decision-making body

in crafting those Specifications. The cases DeSantis cites discuss the merging or splitting of Charges

and not of Specifications. See Southers v. Veterans Admin., 813 F.2d 1223, 1225-26 (Fed. Cir.

1987)(reversing MSPB’s decision to split one charge of false testimony into 18 identical charges

based on multiple, related false statements); Gunn v. U.S. Postal Serv., 63 M.S.P.R. 513, 516-17

(1994); Helmet v. Veterans Admin., 21 M.S.P.R. 74, 77 (1984). The Court finds no error of law in

the AJ’s refusal to merge various specifications at DeSantis’ request.7


       7
          DeSantis’ argument regarding “stacking” or “merging” of Specifications also appears to
argue that the AJ erred in his analysis of Specification 4 of Charge 3, the statements DeSantis made
regarding the Virginia Tech shooting. DeSantis argues that, although the Charge is characterized
as “disruptive behavior,” the Defendant at one point referred to the Virginia Tech comments as
“threatening behavior.” He thus believes it should be analyzed under the reasonable-person standard
of Metz v. Dep’t of Treasury, 780 F.2d 1001 (Fed. Cir. 1986), which applies to Charges of
threatening conduct. Metz v. Department of Treasury applies, however, only “[w]hen an agency’s
charge is labeled as a threat.” Rose v. U.S. Postal Serv., 109 M.S.P.R. 31, 34-35 (2007). Neither
the Charge nor the Specification at issue is labeled as a threat. It is labeled as disruptive behavior.
In this context, the label is controlling, and the Court thus rejects this argument. See Otero v. U.S.

                                                 -17-
       Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 18 of 21




III.   DESANTIS’ NEW EVIDENCE REGARDING HIS DISABILITY IS INAPPLICABLE
       TO THIS PHASE OF THE COURT’S REVIEW.

       One of DeSantis’ arguments on appeal is that there exists new evidence of his disability that

the AJ did not consider. The Court notes that this argument goes only to DeSantis’ discrimination-

based claims and therefore is not subject to the arbitrary-and-capricious standard. The Court will

therefore decline to address this new evidence in this opinion and will reserve judgment on the issue

until it rules on the Defendant’s pending Motion for Summary Judgment. See Motion for Summary

Judgment and Memorandum in Support, filed February 26, 2010 (Doc. 43).

IV.    THE COURT LACKS JURISDICTION OVER DESANTIS’ APPEAL OF HIS IRA
       ALLEGING VIOLATION OF THE WHISTLEBLOWER PROTECTION ACT.

       DeSantis’ also appeals the Final Order of the MSPB relating to his claim of retaliation for

whistleblowing. He asserts that the MSPB’s decision is based on an erroneous interpretation of the

applicable law, misapplying the law defining a “protected disclosure,” and that the Court should

therefore set the decision aside. Appeal at 21. DeSantis’ arguments on this issue are found in what


Postal Serv., 73 M.S.P.R. at 203-04 (not requiring agency to prove threat under Metz v. Department
of Treasury where Charge was “improper conduct,” notwithstanding that the narrative description
of the misconduct accompanying the charge described the appellant’s behavior as threatening); Rose
v. U.S. Postal Serv., 109 M.S.P.R. at 34-35 (holding AJ erred for not applying Metz v. Dep’t of
Treasury test where Charge was “Unacceptable Conduct/Violent and Threatening Behavior Towards
Co-Workers”)(emphasis added). One explanation for this rule is that Metz v. Dep’t of Treasury
related to threats of harm against an individual. The test the Federal Circuit set forth was thus aimed
at determining “whether the person speaking the threat intended to carry out the threat.” James v.
Tablerion, 363 F.3d 1352, 1360 (Fed. Cir. 2004). An employee can be disruptive to the point of
necessitating removal by intentionally making comments that would cause his co-workers to doubt
his mental or emotional stability, even if an objective observer would find it improbable that the
employee would act no these remarks. See AR 1336 (“While [DeSantis’ coworker, Jeff Mayfield]
suspected [DeSantis] may have been making the statements in a calculated effort to attain retirement
benefits, [he] was also concerned for the safety of his coworkers.”). Finally, even if the MSPB in
Otero v. United States Postal Service and Rose v. United States Postal Service misstated the criteria
for application of the Metz v. Department of Treasury standard, the AJ’s error would be harmless
because the AJ sustained Specifications 1 and 3 of Charge 3. See Burroughs v. Dep’t of Army, 918
F.2d at 172.

                                                 -18-
      Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 19 of 21




appears to be a separate appellate brief appended to the back of the first one. The Court finds no

response to these arguments in the Defendant’s brief.

       The Court concludes that it lacks jurisdiction over DeSantis’ appeal of his WPA claim.

Appeals of MSPB Final Orders that do not include claims of unlawful discrimination can be filed

only in the Federal Circuit. See Coffman v. Glickman, 328 F.3d at 621 (“Review of a MSPB

determination which does not involve claims of unlawful discrimination is conducted by the United

States Court of Appeals for the Federal Circuit.”); Williams v. Rice, 983 F.2d at 179-80 (“Normally,

pursuant to 5 U.S.C. § 7703(b)(1), the Federal Circuit has exclusive jurisdiction over appeals from

the MSPB[.]”). DeSantis pursued that claim in a separate administrative proceeding with a separate

case number. He filed the first appeal on September 10, 2007, and the second on February 11, 2008.

See AR 464; AR 1309. While both cases were heard on April 8, 2008 through April 10, 2008, the

AJ wrote a separate opinion on the WPA issue, see AR 464 (Initial Decision in DE-1221-08-0195-

W-1, dated July 18, 2008); AR 1309 (Initial Decision in DE-0752-07-0509-I-2, dated June 10,

2008), and the MSPB adopted the separate opinion by a separate Final Order. See AR 2871 (Final

Order in DE-1221-08-0195-W-1, dated Dec. 5, 2008); AR 2949 (Final Order in DE-0752-07-0509-I-

2, dated Dec. 5, 2008). DeSantis has merely appended his appeal of the MSPB’s Final Order as to

his WPA claim to the back of his appeal of the MSPB Final Order resolving his other claims. The

act of stapling one appeal to another does not transform the appeal of case DE-1221-08-0195-W-1 --

a case dealing only with a claim of retaliation under the WPA -- into a mixed-case dealing also with

issues of unlawful discrimination. DeSantis was entitled to appeal the MSPB Final Order in case

DE-0752-07-0509-I-2 to this Court, as it involves issues of unlawful discrimination. The same is

not true of DE-1221-08-0195-W-1.

       The only court with jurisdiction over DeSantis’ appeal of the MSPB Final Order denying his

                                               -19-
      Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 20 of 21




WPA claim is the Federal Circuit Court. See Coffman v. Glickman, 328 F.3d at 621; Williams v.

Rice, 983 F.2d at 179-80; 5 U.S.C. §§ 7703(b) & 7702. The Court therefore dismisses DeSantis’

appeal of his WPA claim for lack of jurisdiction. Having addressed each argument raised by

DeSantis in his appeal of the MSPB’s Final Order adopting the AJ’s Initial Decision -- other than

those asserting that his dismissal was a form of discrimination, as to which DeSantis is entitled to

a trial de novo -- the Court affirms the MSPB’s decision to uphold the AJ’s affirmance of DeSantis’

removal.

        IT IS ORDERED that the MSPB’s Final Order affirming DeSantis’ dismissal is affirmed

in part. All issues other than those regarding discrimination -- as to which Plaintiff Christopher

DeSantis is entitled to a trial de novo under 5 U.S.C. § 7703(c) -- and DeSantis claim under the

Whistleblower Protection Act -- as to which the United States Court of Appeals for the Federal

Circuit has exclusive jurisdiction -- are affirmed. DeSantis’ appeal of Final Order DE 1221-08-

0195-W-1 is dismissed for lack of jurisdiction. The facts regarding DeSantis’ claims of unlawful

discrimination are entitled to de novo review, and the Court will address them in ruling on the

Defendants’ Motion for Summary Judgment and Memorandum in Support (Doc. 43).




                                                      ___________________________________
                                                      UNITED STATES DISTRICT JUDGE




Counsel:

David Mark Conrad
Spring, Texas

-- and --

                                               -20-
      Case 2:08-cv-01205-JB-KBM Document 57 Filed 05/20/10 Page 21 of 21




Ronald Tonkin
Houston, Texas

-- and --

Cori A. Harbour
Harbour Law Firm, P.C.
El Paso, Texas

        Attorneys for the Plaintiff

Gregory J. Fouratt
 United States Attorney
Phyllis A. Dow
 Assistant United States Attorney
United States Attorney's Office
Albuquerque, New Mexico

        Attorney for the Defendant




                                      -21-
